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                               REGISTRAR OF VOTERS
                                  Town of Brookfield
                                    P.O ..Box 5106
                                 Brookfield , CT 06804




                                                     July 19,2016




          Re: Voter· Registration Request

Dear Ms. Miller:

         We are in receipt of your request to register as a member of the Brookfield Republican
Party.

       The Connecticut Superior Court determined as a matter of fact and law that Thomas
Dunkerton, the Republican Registrar of Voters, properly exercised his authority in removing you
from the enrollment list of the Republican Party, which Court Decision was also the basis fo r Mr.
Dunketton's Decision, dated April 8, 2016.

        I have no authority to reverse that Court Decision, nor should my decision on this
application be construed as any judgment on that Court's Decision or the prior actions of
Thomas Dunkerton or Matthew Grimes in this matter.

        Exercising my authority with respect to your application dated June 24, 2016, I conclude
as follows: (1) You have been removed from the Republican Party now for fifteen (15) months;
and (2) You have stated that you are committed generally to participating in the Republican
Party.

       Accordingly, I have accepted your current application and placed your name on the
enrollment list of the Republican Party.

                                                    Sincerely,

                                                     ~~
                                                    Ryan Murphy,
                                                    Republican Registrar of Voters - Brookfield




                                                                                  EXHIBIT A
